                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )      No. 05-4012-03-CR-C-SOW
                                                   )
TIMOTHY ERIC CONRAD,                               )
                                                   )
                Defendant.                         )

                                           ORDER

        Before this Court are the Reports and Recommendations of United States Magistrate

William A. Knox regarding defendant Conrad’s Motion to Suppress as to Count II (Doc. #36),

Motion for Separate Trial (Doc. #103), Motion to Sever Defendant (Doc. #104), and Motion to

Suppress as to Count III (Doc. #111). The Reports and Recommendations of the Magistrate in

this case are thorough and well-reasoned. This Court agrees with these recommendations and

sees no reason to comment further. Accordingly, it is hereby

        ORDERED that defendant Conrad’s Motion to Suppress as to Count II (Doc. #36) is

denied. It is further

        ORDERED that defendant Conrad’s Motion for Separate Trial (Doc. #103) is denied. It

is further

        ORDERED that defendant Conrad’s Motion to Sever Defendant (Doc. #104) is denied.

It is further




                                               1


       Case 2:05-cr-04012-BCW         Document 232       Filed 05/08/06    Page 1 of 2
          ORDERED that defendant Conrad’s Motion to Suppress as to Count III (Doc. #111) is

denied.



                                                  /s/ Scott O. Wright
                                            SCOTT O. WRIGHT
                                            Senior United States District Judge

Date:       5/8/2006




                                               2


        Case 2:05-cr-04012-BCW         Document 232      Filed 05/08/06     Page 2 of 2
